 Case 2:19-cv-11678-PDB-EAS ECF No. 1 filed 06/06/19       PageID.1    Page 1 of 4



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

RAYNALD HARPER,

             Plaintiff,                       Case No.
v.
                                              Hon.

PROCORP, LLC,
DOWNRIVER STAFFING GROUP, LLC,
and TIMOTHY SCHULTZ,

            Defendants.
GOLD STAR LAW, P.C.
Maia Johnson Braun (P40533)
David A. Hardesty (38609)
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                                  COMPLAINT

      Plaintiff, Raynald Harper, through his attorneys, Gold Star Law, P.C., for his

Complaint states:

                    PARTIES, JURISDICTION AND VENUE

      1.     Plaintiff, Raynald Harper (“Harper”) is an individual who resides in

Detroit, Wayne County, Michigan.

      2.     Defendant, ProCorp, LLC, (“ProCorp”) is a Michigan corporation

with its registered office in Taylor, Michigan.
 Case 2:19-cv-11678-PDB-EAS ECF No. 1 filed 06/06/19           PageID.2   Page 2 of 4



          3.    Defendant, Downriver Staffing Group, LLC (“Downriver”) is a

Michigan corporation with its Register Office and principal place of business in

Taylor, Michigan.

          4.    Defendant Timothy Schultz (“Schultz”) is the resident agent,

authorized officer, and manager of the Defendant corporations.

          5.    Defendant corporations share the same Resident Agent, Managers,

office location, staff and employees and otherwise operate as the same business

entity.

          6.    Defendants are enterprises engaged in interstate commerce as defined

by the FLSA and have revenues in excess of $500,000 per year.

          7.    This action arises under 29 U.S.C. 207, and jurisdiction of this Court

is invoked pursuant to 28 U.S.C. 1331.

          8.    Defendants reside within this judicial district, and venue is proper in

this Court pursuant to 28 U.S.C. 1391(b).

                             FACTUAL ALLEGATIONS

          9.    Defendants are in the business of moving automobiles, primarily for

Chrysler Group, LLC, from one location to another within the State of Michigan.

          10.   Harper was employed as a Car Porter from on or about June, 2015

until April, 2018.




                                            2
 Case 2:19-cv-11678-PDB-EAS ECF No. 1 filed 06/06/19        PageID.3   Page 3 of 4



       11.   Harper was paid at his regular hourly rate of pay for all hours worked

for Defendants, and was not paid one and one half times his regular rate of pay for

hours worked over 40 in a week.

       12.   Harper was not exempt from the overtime pay requirements of the

FLSA.

       13.   Harper regularly worked in excess of 40 hours per week during the

relevant employment period.

       14.   Defendants’ method of paying Harper was in violation of the FLSA,

was willful, and was not based on a good faith and reasonable belief that their

conduct complied with the FLSA.

                            CAUSE OF ACTION
                         VIOLATION OF 29 U.S.C. 207


       15.   Harper incorporates the allegations in the foregoing paragraphs as if

fully stated herein.

       16.   Defendants’ practice of failing to properly pay Harper time-and-a-half

rate for hours in excess of forty (40) per workweek violates the FLSA. 29 U.S.C.

207.

       17.   None of the exemptions provided by the FLSA regulating the duty of

employers to pay overtime at a rate not less than one and one-half times the regular

rate at which its employees are employed are applicable to Defendants or Harper.


                                         3
 Case 2:19-cv-11678-PDB-EAS ECF No. 1 filed 06/06/19       PageID.4    Page 4 of 4



      18.   Harper is entitled to recover his unpaid overtime compensation.

      19.   Harper is entitled to an amount equal to all of his unpaid overtime

wages as liquidated damages and reasonable attorney fees. 29 U.S.C. § 216(b).

      20.   Pursuant to the FLSA, based upon an average of 69 hours worked

each week, Defendants are liable to Harper for at least $13,100.08 in unpaid

overtime compensation.

      21.   Harper is entitled to an additional equal amount, or at least $13,100.08

in liquidated damages.

      22.   Harper is also entitled to his costs and attorney fees in having to

pursue this action against Defendants.

      WHEREFORE, Plaintiff, Raynald Harper, requests that this Court award

him at least $13,100.08 in actual unpaid overtime wages, an equal amount as

liquidated damages, him reasonable costs and attorney fees, and such other relief

as this Court deems appropriate.

                                             Respectfully submitted,

                                             GOLD STAR LAW, P.C.

                                             /s/ Maia Johnson Braun       .
                                             Maia Johnson Braun (P40533)
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Dated: June 6, 2019

                                         4
